Case 4:19-cv-07123-PJH   Document 574-1   Filed 03/06/25   Page 1 of 45




              EXHIBIT A
  PUBLIC REDACTED VERSION
    Case 4:19-cv-07123-PJH          Document 574-1     Filed 03/06/25   Page 2 of 45




                         UNITED STATES DISTRICT COURT
                        NORTHERN DISTRICT OF CALIFORNIA
                               OAKLAND DIVISION


WHATSAPP INC, and FACEBOOK, INC., )
                                  )
           Plaintiffs,            )
                                  )
     v.                           )
                                    Case No. 4:19-cv-07123-PJH
                                  )
NSO GROUP TECHNOLOGIES LIMITED, )
and Q CYBER TECHNOLOGIES LIMITED, )
                                  )
           Defendants.            )

                            REPORT OF JOSHUA J. MINKLER

               CONFIDENTIAL PURSUANT TO PROTECTIVE ORDER

    I.        INTRODUCTION

         1.     My name is Joshua James Minkler. I have been engaged to offer

testimony based on my specialized experience conducting investigations and

prosecuting criminal cases based on surveillance technology. The scope of my

testimony       includes:    (1)   the   lawful   interception   and    surveillance   of

communications by federal law enforcement officers; (2) the unique investigatory

challenges presented to state and federal law enforcement by end-to-end

encryption and endpoint encryption; and (3) the benefits of tools such as Pegasus

in law enforcement and national security operations.

         2.     This report explains my understanding of the technology in this case

and details my testimony concerning using such lawful intercept capabilities.

The views expressed herein are my own and are based on my investigation into




                                             1
    Case 4:19-cv-07123-PJH         Document 574-1    Filed 03/06/25   Page 3 of 45




this matter and the education, experience, training, and skills I have

accumulated as a lawyer and a federal law enforcement official.

    II.        QUALIFICATIONS

          3.     My resume is attached as Appendix A. It includes my qualifications,

and sets forth significant investigations and prosecutions in which I was

involved. 1

          4.     I am currently a Partner at the law firm Barnes & Thornburg LLP.

In that role, I represent clients in matters relating to white-collar, compliance,

and criminal investigations.

          5.     Before joining Barnes & Thornburg, I served as the United States

Attorney for the Southern District of Indiana from 2014-2020, as the Acting US

Attorney, Attorney General Appointed US Attorney, Court Appointed US

Attorney, and Presidentially Appointed, Senate confirmed US Attorney. Before

serving as US Attorney, I served in various roles in the Office of the United States

Attorney for the Southern District of Indiana from 1994 to 2015. These roles

include: 1994 to 2010 – Assistant United States Attorney; 2010-2011 – Chief,

Drug and Violent Crimes Unit/Lead; and 2011-2014 – First Assistant United

States Attorney. Before that, I was an Assistant Prosecuting Attorney for the Kent

County (Michigan) Prosecuting Attorney from 1989 to 1994.

          6.     With over thirty years of law enforcement experience, I have led more

than fifty investigations, resulting in the prosecution of more than 500 criminal




1 I have authored no publications in the last ten years.




                                         2
    Case 4:19-cv-07123-PJH    Document 574-1     Filed 03/06/25   Page 4 of 45




defendants in federal court. I have significant experience obtaining authorization

for the lawful interception of communications at the state and federal levels,

supervising the use of those law enforcement techniques, and working with

federal law enforcement agencies, including the Federal Bureau of Investigation

(FBI), the Bureau of Alcohol, Tobacco, Firearms and Explosives (ATF), and the

US Drug Enforcement Administration (DEA).

      7.    I have led and supervised complex investigations, including those

involving organized crime, child exploitation, terrorism, and human trafficking,

where sophisticated technical capabilities were deployed, such as remote

surveillance and the interception of communications. I have also been involved

in investigations where no such capabilities were available, but they would have

been helpful to the investigation had they been available. Accordingly, I am

familiar with existing lawful interception tools and the need for next-generation

solutions to address technological advancements available to suspected

criminals and terrorists.

      8.    I have significant familiarity with the interception and use of

communications in criminal prosecution.

      9.    For example, beginning in the Fall of 1998, I led a joint FBI and

Indianapolis Metropolitan Police Department investigation into a violent

organized group of drug distributors operating in the Brightwood neighborhood

on the northeast side of Indianapolis. Using court authorized interception of

phone calls and pager messages, law enforcement seized 78 weapons, 12

kilograms of cocaine, and $200,000 in cash during the investigation. Twenty-



                                     3
    Case 4:19-cv-07123-PJH    Document 574-1    Filed 03/06/25   Page 5 of 45




one defendants were charged. During the spring and summer of 2000, ten of the

defendants were tried in a seven-week trial. Over 100 witnesses and 1,200

exhibits were presented to the jury. Murders that were at a record high in the

Brightwood neighborhood in 1998, declined in 1999, 2000, and 2001. I received

an award from the FBI’s Special Agent in Charge for the investigation and

prosecution of this matter.

      10.   From December 2004 until March 2005, I led a team of DEA agents

and Indiana State Police investigators in an investigation that involved four

court-authorized wire intercepts with three extensions under the Department of

Justice’s Special Operations Division’s (“SOD”) “Operation Money Clip.”

Operation Money Clip was a SOD-supported, multi-jurisdictional, multi-agency

Organized Crime Drug Enforcement Task Force (OCDETF) investigation targeting

the Henry and Tony Franco-Arrellano poly-drug trafficking organization. SOD

initiated Operation Money Clip after intelligence identified a defined Mexican

criminal organization being supplied by Regional Priority Target (RPOT) 2 Ignacio

Coronel-Villareal. Operation Money Clip received intelligence from our law

enforcement counterparts in Mexico, including communications intelligence. In

addition, evidence obtained from legal electronic surveillance in the United

States was provided to and used by law enforcement counterparts in Mexico.

      11.   As a result of this investigation, 16 defendants were indicted,

arrested, convicted, and sentenced in the Southern District of Indiana. In


2 RPOT—Regional Priority Target is an OCDETF term for high-level targets as
determined by the Department of Justice.


                                    4
    Case 4:19-cv-07123-PJH    Document 574-1     Filed 03/06/25   Page 6 of 45




addition, 48 kilograms of cocaine, 875 pounds of marijuana, seven guns, and

assets valued at $1,450,000 were seized and forfeited. More importantly, three

Mexico-based sources of supply were indicted and convicted in this investigation,

including OCDETF Priority Target Juan Carlos Bermudez. On June 14, 2005,

Bermudez was arrested on the outstanding arrest warrant issued in the

Southern District of Indiana during a trip from the Mexico to Chicago, Illinois.

Bermudez was the first multi-jurisdictional RPOT target to be indicted and

convicted in the Southern District of Indiana. My team received a 2006 United

States Attorney Award. Additionally, the case was recognized as the Great Lakes

OCDETF case of the year at a Department of Justice Ceremony in Washington,

D.C., on July 31, 2007. I received an award from the Assistant Attorney General

for the Criminal Division. All defendants were arrested, pled guilty, and were

sentenced to prison. The denials of motions to suppress were appealed. The

judgments were affirmed on appeal. United States v. Evarardo Lira-Esquivel, 509

F.3d 820 (7th Cir. 2007).

      12.   In 2015, I also supervised the investigation and prosecution of Jared

S. Fogle and Russell C. Taylor for distributing and receiving Child Sexual Abuse

Material (CSAM) and conspiring to do so, as well as repeatedly traveling to engage

in commercial sex acts with underage minors. Between March 2001 and May

2015, Fogle received and viewed CSAM given to him by Taylor. Taylor secretly

produced CSAM of victims between 9 and 16 years old in his house. Taylor also

obtained and shared CSAM videos made outside of the United States showing

the sexual abuse of victims as young as six years old through Internet sources.



                                     5
    Case 4:19-cv-07123-PJH     Document 574-1     Filed 03/06/25   Page 7 of 45




Fogle also repeatedly utilized the Internet to solicit minors for commercial sexual

acts. He did this using an email account, social networking websites, online

messaging, and text messages. After victimizing a minor, Fogle sent messages to

the victim offering to pay her a fee, if she could find another underage girl to

have sex with him – indicating that “the younger” the next victim was “the better.”

      13.   I supervised the investigation and federal terrorism prosecution of

Akram Musleh, who was arrested in 2016 while attempting to board a bus from

Indianapolis to New York, where he was to fly to and transit through Morocco to

territory controlled by the Islamic State of Iraq and al-Sham (ISIS). The FBI

electronically surveilled Musleh as he consumed ISIS propaganda and made

contact with more than 12 ISIS fighters, supporters, and facilitators around the

world to join the terrorist organization. In his conversations with those contacts,

Musleh declared his allegiance to ISIS, expressed his eagerness to join ISIS, and

sought to determine the best way to travel from the United States to ISIS-

controlled territory in Syria or North Africa. Musleh also sought the advice of his

contacts on when to travel and the best routes to avoid detection by law

enforcement authorities. When one of his contacts suggested Musleh send

money to support the terror organization instead of traveling, Musleh replied that

he was afraid sending money would draw law enforcement attention and Musleh

“[didn’t] want to lose [his] freedom before doing something massive.” In searches

of Musleh’s electronic devices, the FBI recovered numerous files containing ISIS

propaganda, including horrific pictures and videos depicting violence inflicted on

countless people in the Middle East and North Africa. Also located on Musleh’s



                                     6
       Case 4:19-cv-07123-PJH    Document 574-1         Filed 03/06/25   Page 8 of 45




electronic devices was a “kill list” of US service members published by ISIS and

a pro-jihad video Musleh produced and created, which included a listing of

Indiana service members killed in action during Operation Iraqi Freedom.

        14.     In 2019, I supervised the investigation and prosecution of Moyad

Dannon and Mahde Dannon, who agreed to manufacture and sell at least 55

fully automatic “ghost guns” to a buyer located on the American southwest

border, believing those weapons would be shipped to the Middle East for use by

ISIS    and     its   members. Moyad    Dannon     had      numerous     and      extensive

conversations with an undercover agent who he believed was a member of ISIS

then fighting in Syria. During those conversations, Moyad expressed his desire

to travel from Indiana to ISIS-controlled areas of Syria, where he sought to utilize

his knowledge of firearms and other skills to provide direct military assistance

to ISIS in its fight against the United States and the Syrian government. In a

search     of   Dannon’s    devices   following   his    arrest,   FBI   agents     located

approximately 16 gigabytes of ISIS propaganda, including graphically violent

videos depicting ISIS fighters beheading civilians and hostages and ISIS snipers

killing US military personnel. Identical ISIS propaganda videos were discovered

on a laptop computer.

        15.     In each of these instances, interception of communications was

critical to the investigation and prosecution of these crimes. Today, many of

these communications likely would have been encrypted, impairing or impeding

the investigations and prosecutions.




                                        7
    Case 4:19-cv-07123-PJH      Document 574-1         Filed 03/06/25        Page 9 of 45




      16.    In addition, I also have significant experience supervising criminal

investigations involving end to end (E2E) communications. For example, I

supervised an investigation of an organized crime group called “the Mob,” which

committed at least 26 robberies of pharmacies, and one homicide, in the

Indianapolis area from September 12, 2014, through June 6, 2016.                            Our

investigation determined that the members of the Mob used Facebook Messenger

to communicate with each other to recruit new members into the gang, plan the

robberies, and sell the prescription drugs that they obtained from the robberies.

In that case, my team obtained Facebook Messenger communications through

federal search warrants. Given Meta’s recent migration to E2E encryption, law

enforcement would not have obtained these records, the prosecution might not

have occurred, and additional crimes might have been committed.

      17.    I   also   supervised   the     investigation    into     methamphetamine

trafficking activity of Clifford King. King’s organization distributed over 500

pounds of pure methamphetamine over a six-month period ranging from late

2019 through March 19, 2020. During the investigation, law enforcement

identified two of King’s methamphetamine suppliers—Eric Walker and Derrick

Granger.    Even   though    Granger       regularly   supplied      large     quantities    of

methamphetamine to King, law enforcement never intercepted them speaking

during approximately sixty days of wiretap interceptions over King’s cellphone.

During the search of Granger’s cellphone, law enforcement found screenshots

indicated that Granger communicated with King over FaceTime. Like Facebook

Messenger (now) and WhatsApp, FaceTime is a communication platform that



                                       8
   Case 4:19-cv-07123-PJH     Document 574-1    Filed 03/06/25   Page 10 of 45




features E2E encryption. As a result, it became clear to us that law enforcement

did not intercept Granger during the wiretap because he was speaking to King

exclusively over FaceTime.

      18.   I also supervised the investigation into a methamphetamine

trafficking ring operated by Christopher Tate. Tate’s organization distributed in

excess of 150 pounds of pure methamphetamine in the Indianapolis area. Trial

testimony established that Tate communicated with his drug customers and

suppliers   via   FaceTime,   another   communications    platform   using   E2E

encryption, to avoid detection by law enforcement. One of Tate’s drug customers,

Desiree Evans, testified at trial that Tate communicated with both her and Tate’s

drug source by FaceTime because “the police couldn’t get our conversations that

way.” Another of Tate’s drug customers, Danielle Dowling, testified that Tate

wanted her to contact him via FaceTime “[b]ecause you guys weren’t supposed

to hear his phone calls on FaceTime.” Despite our best efforts, the investigation

was unable to identify Tate’s Indianapolis-based sources of supply because Tate

communicated with them through platforms that employed E2E encryption,

including possibly WhatsApp or Facebook Messenger.

      19.   From February 2019 through November 2020, I supervised the

investigation of Jason Betts, the leader of an Indianapolis methamphetamine

trafficking group. Later, I became aware that the FBI conducted a court

authorized wiretap interception of Betts’ cellular telephone from February 19,

2021, through July 14, 2021. Law enforcement did not intercept any telephone

conversations identifying Betts’ methamphetamine source during this time



                                    9
   Case 4:19-cv-07123-PJH     Document 574-1    Filed 03/06/25   Page 11 of 45




period.   Betts’   organization   distributed   over   220   pounds     of   pure

methamphetamine and seven kilograms of fentanyl in the Indianapolis area.

After his arrest, Betts revealed that his methamphetamine source was Stephen

Grider, a resident of California who traveled back and forth from California to

Indiana. Betts’ cooperation eventually provided sufficient evidence to indict

Grider, who pled guilty to conspiracy to distribute methamphetamine and

fentanyl. At the trial, Betts testified that he communicated exclusively with

Grider through FaceTime, using E2E. When asked at trial why he only

communicated with Grider via FaceTime, Betts testified, “Because he said that’s

the only way that he would conversate with me because the FaceTime cannot be

intercepted about any law enforcement, sir.” Betts later testified that he also

communicated with Grider’s drug courier exclusively via FaceTime. When law

enforcement arrested Grider in California, law enforcement seized his cellular

telephone and executed a search warrant on the telephone. The cellular

telephone showed that Grider had substantial contacts with an individual in

California who had an extensive criminal record that involved drug distribution

and suggested involvement in the Jalisco New Generation Cartel. The contents

of the cellular telephone showed that Grider communicated with this individual

exclusively via WhatsApp and Signal via E2E encryption. Since law enforcement

could not identify Grider’s telephone to tap it or obtain the WhatsApp and Signal

messages from his cellphone, and because Grider did not cooperate, law

enforcement could not prove a case against Grider’s source in court or expand

the investigation to the source of supply to Grider California-based drug



                                    10
   Case 4:19-cv-07123-PJH     Document 574-1       Filed 03/06/25   Page 12 of 45




trafficking organization (DTO). Law enforcement’s inability to intercept

telephonic communications using platforms with E2E encryption significantly

hampered this investigation. If law enforcement could have intercepted Betts’

telephonic   FaceTime    communications     with     Grider   during   the   wiretap

investigation, it would have identified Grider earlier and identified his

communications device. Law enforcement would have used those interceptions

to obtain authority to intercept Grider’s cellular telephones. If law enforcement

had the ability to identify Grider’s telephonic communications over WhatsApp

and Signal, it would have been able to identify Grider’s cartel-based source of

methamphetamine and fentanyl.

      20.    From November 2005 until January 2006, I led DEA agents and

Indiana State Police investigators in an investigation that involved four court

authorized wire intercepts with two extensions under OCDETF “Operation

Motley Crew” focusing on RPOT target John Scruggs who was the kingpin of a

cocaine trafficking organization operating in Madison, Indiana. As a result of this

investigation, a total of 17 defendants were indicted. During the investigation,

kilograms of cocaine, pounds of marijuana, guns, and United States currency

were seized. More importantly, the elimination of a large DTO in a relatively small

Indiana tourist town (population 13,000) had a tremendous impact on reducing

the availability of illegal drugs, reducing the crime rate, and improving the

quality of life for all of the law-abiding residents of that town. My team received

a United States Attorney Award in 2008. I was recognized with an award from

the Special Agent in Charge of the DEA for my work on this case.



                                     11
   Case 4:19-cv-07123-PJH     Document 574-1     Filed 03/06/25   Page 13 of 45




      21.   During 2001, I led a joint FBI, DEA, United States Department of

Health and Human Services (HHS), Indiana Attorney General, and Jennings

County, Indiana, Sheriff’s Department investigation into the fraudulent

prescribing, distribution, and billing of OxyContin by an Indianapolis physician,

Dr. Randolph Lievertz, and a Jennings County, Indiana, drug dealer, Melinda

Hawkins. Lievertz prescribed more OxyContin to Medicaid recipients in the State

of Indiana than any other physician, and Hawkins was the Indiana Medicaid

recipient who received the largest amounts of OxyContin. From January 1, 2001

through September 26, 2001, Lievertz caused over $500,000 to be paid by

Medicaid for OxyContin. After filling the prescriptions, Hawkins illegally

distributed the OxyContin to several individuals, including high school students,

in Jennings County, Indiana. This illegal scheme not only bilked taxpayers, it

caused an epidemic of OxyContin abuse in rural Jennings County. The five-

month investigation employed a variety of law enforcement techniques, including

physical surveillance, controlled purchases of OxyContin, a complete financial

investigation, court authorized interception of oral communications occurring in

Lievertz’s examination room, and search warrants. This case won a 2003 United

States Attorney Award. HHS Inspector General Janet Rehnquist recognized me

with the HHS Public Integrity Award.

      22.   I have not testified as an expert at trial or by deposition in any case

during the previous four years.

      23.   I am being paid $995/hour for my work in this case. My

compensation is not contingent upon the outcome of the case.



                                    12
   Case 4:19-cv-07123-PJH        Document 574-1     Filed 03/06/25   Page 14 of 45




   III.     INFORMATION CONSIDERED

          24.   The content of this report is based on my experience as a prosecutor

and a United States Attorney involved in sophisticated investigations, task

forces, and steering committees. That experience includes familiarity with

intercept capabilities, legal standards, laws, processes, and accountability

mechanisms for misconduct or abuses.

          25.   In addition, a list of the materials and information that I considered

in forming the opinions expressed in this report can be found in Appendix B,

below.

          26.   Beyond the materials identified above, I do not anticipate needing

any exhibits to summarize, support, or aid my testimony. If this changes, I will

provide any such exhibits.

   IV.      BACKGROUND

          27.   Pegasus is a tool developed by the Israeli company NSO Group.

Pegasus is designed to be covertly and remotely installed on mobile phones

running iOS and Android.

          28.   All marketing and licensing activities relating to Pegasus must be

approved by the Israeli Ministry of Defense (MoD). NSO Group limits its customer

base to governments and government agencies. It also requires those customers

to use its products only for criminal and national security investigations and has

stated that it has an industry-leading approach to human rights. NSO’s

marketing and licensing activities are also subject to oversight by an internal

business ethics committee.



                                        13
   Case 4:19-cv-07123-PJH     Document 574-1     Filed 03/06/25   Page 15 of 45




        29.



        30.




        31.   While Pegasus’s capabilities may vary over time due to software

updates, it is generally capable of reading text messages, call recording, location

tracking, accessing the target device’s microphone and camera, and collecting

information from apps.

        32.   I have reviewed NSO’s Transparency and Responsibility Report for

2023. In this report, NSO explained that it is technologically impossible for

Pegasus to add, alter, delete, or otherwise manipulate data on targeted mobile

devices or perform any other activities beyond viewing and extracting certain

data.

        33.




                                     14
   Case 4:19-cv-07123-PJH     Document 574-1    Filed 03/06/25     Page 16 of 45




      34.   NSO also reports its compliance with the United Nations Guiding

Principles on Business and Human Rights (“UNGPs”), the Organisation for

Economic    Co-operation    and   Development    Guidelines      for   Multinational

Enterprises, and the United Nations Counter-Terrorism Legal Training

Curriculum. See NSO, Transparency and Responsibility Report 2023, (Dec. 31,

2023),       https://www.nsogroup.com/wp-content/uploads/2023/12/2023-

Transparency-and-Responsibility-Report.pdf. In doing so, NSO vets proposed

Pegasus licensees, limits the number of instances in which Pegasus can be used,

and contractually requires customers to respect human rights and use Pegasus

only for legitimate intelligence and law enforcement purposes. Id. I have verified

that NSO’s contracts contain clauses related to human rights and lawful

intelligence gathering.

    V.   DISCUSSION

         A. Lawful Interception and Surveillance by Federal Law
            Enforcement Agencies

      35.   The ability to lawfully intercept communications is not just a tool,

but a critical necessity in ensuring public safety and national security. Without

access to real-time communications, law enforcement’s ability to prevent


                                    15
   Case 4:19-cv-07123-PJH     Document 574-1     Filed 03/06/25   Page 17 of 45




terrorist attacks, conduct criminal investigations, and prosecute criminal

activity will be significantly hampered. The inability to use developing technology

to conduct the lawful interception of communications puts law enforcement at a

disadvantage as technology (and consequently the technology used to evade the

law) evolves. Indeed, criminal and terrorist actors are aware of the technologies

deployed by law enforcement and counter with increasingly sophisticated

technologies to defeat detection, intercept, or capture.

      36.   However, federal law provides avenues for law enforcement to

lawfully intercept communications using tools like Pegasus, including Title III

wiretaps and FISA warrants.

      37.   For example, Title III of the Electronic Communications Privacy Act,

18 U.S.C. 2510, et seq., has specific requirements that must be met before a

wiretap may be issued, including (1) any wiretap application under Title III must

be prepared by an affiant law enforcement agent who has developed the probable

cause necessary to support a wiretap and must be signed by a United States

Attorney or their designee, 18 U.S.C. § 2518(1)(a); (2) the application must

describe with particularity what information is to be intercepted and all other

means explored to gather this information, 18 U.S.C. § 2518(1)(b); (3) the

application must describe with particularity the probable cause for the specific,

predicated offense or offenses, 18 U.S.C. § 2518(1)(b); and (4) a federal judge

must approve the application, 18 U.S.C. § 2518(3). And no order for a wiretap

“may authorize or approve the interception of any wire, oral, or electronic




                                     16
   Case 4:19-cv-07123-PJH      Document 574-1     Filed 03/06/25   Page 18 of 45




communication for any period longer than is necessary to achieve the objective

of the authorization.” 18 U.S.C. § 2518(5).

      38.     The Foreign Intelligence Surveillance Act (“FISA”), 50 U.S.C. §§

1801-11, 1821-29, 1841-46, 1861-62, 1871, provides another means by which

intelligence agencies can lawfully intercept communications. FISA requires a

specialized Foreign Intelligence Surveillance Court to find that probable cause

exists that the subject of the FISA warrant is a foreign power or agent of a foreign

power and that a “significant purpose” of the warrant is to obtain foreign

intelligence. 50 U.S.C. §§ 1804. FISA also requires that all surveillance be

“minimized” to the extent possible. Id.

      39.     In my experience as a federal prosecutor and as the US Attorney,

there are significant safeguards that limit the potential for misuse of Title III

wiretaps and FISA warrants. For example, federal law provides criminal and civil

penalties for abuse of these law enforcement mechanisms. Similarly, the

Department of Justice’s internal policies provide for penalties for abuse of

warrants, including termination. These penalties are a strong deterrent against

any potential misuse of surveillance tools.

      40.     Based on my experience, federal law enforcement could lawfully

deploy Pegasus or similar software capabilities in the United States within these

parameters.

      B. Law Enforcement and Intelligence Concerns Regarding
         Device Encryption

      41.     Government access to encrypted communications is not a new issue

and has been debated since at least the 1970s. However, in the modern context,


                                     17
   Case 4:19-cv-07123-PJH     Document 574-1    Filed 03/06/25   Page 19 of 45




end-to-end encryption (“E2E” or “Device Encryption”) has put a unique

constraint on law enforcement. E2E protects “data in motion” and encrypts the

transmission of messages such that only the original sender and intended

recipient have the ability to decrypt the communication. E2E encryption

contrasts with traditional “end point” encryption, which protects stored

information on locked devices such that the contents of the device cannot be

read by anyone who does not possess the password. Increasingly, E2E has

become the default on many different applications and messaging services,

including WhatsApp, Telegram, and Signal. See About End-to-End Encryption,

WhatsApp,     https://faq.whatsapp.com/820124435853543             (last   visited

December 10, 2024); End-to-End Encryption FAQ, Telegram Support Force,

https://tsf.telegram.org/manuals/e2ee-simple (last visited December 10, 2024);

Is It Private? Can I Trust It, Signal Support, https://support.signal.org/hc/en-

us/articles/360007320391-Is-it-private-Can-I-trust-

it#:~:text=Signal%20conversations%20are%20always%20end,%2C%20every%2

0call%2C%20every%20time (last visited December 10, 2024).

      42.   The E2E encryption that WhatsApp provides its users prevents law

enforcement    from    intercepting    and   deciphering    communications       –

communications that law enforcement would have previously been able to obtain

and review by intercepting mail, telephone calls, electronic communications, etc.

WhatsApp itself informs users that it “does not” comply with law enforcement

requests for the content of its users’ messages. More importantly, WhatsApp

informs users that it “cannot” comply with such lawful requests for the content



                                      18
   Case 4:19-cv-07123-PJH       Document 574-1     Filed 03/06/25    Page 20 of 45




of their messages. 3 See WhatsApp FAQ, “About government requests for user

data,”            (last         accessed           Dec.             10,         2024)

https://faq.whatsapp.com/808280033839222.

         43.   As a practical matter, law enforcement also cannot access encrypted

messages on a locked device, even when that has been lawfully seized.

         44.   Accordingly, law enforcement and intelligence agencies are delayed

or unable to prevent terrorist attacks, investigate crimes, and prosecute criminal

activity without access to communications—even with a warrant or court order.

         45.   The impact of these limitations is present in several cases, including

cases of child exploitation. For example, in August 2019, an undercover police

officer in Ohio responded to an advertisement on a prostitution website seeking

to sell an underage woman who was a victim of sex trafficking. The undercover

officer arranged for a meet-up with the seller and—during the meet-up—arrested

him, seizing his cell phone in the process. The day after the arrest, the suspect

was overheard saying on a jail cell phone, “If [the police] get in my phone, I’m

doing time . . . . If they get in my phone, I’m doing time for other [stuff].” Using

this evidence, law enforcement obtained a warrant to search the suspect’s cell

phone, hoping to obtain the names of other sex trafficking victims. However, law

enforcement was unable to bypass the device’s encryption—meaning law

enforcement was never able to identify the names of other potential sex offenders,

or other potential victims of sex trafficking. See Lawful Access, US Department




                                       19
   Case 4:19-cv-07123-PJH      Document 574-1     Filed 03/06/25   Page 21 of 45




of Justice Office    of Legal Policy (last updated November 18, 2022),

https://www.justice.gov/olp/lawful-access.

      46.    The issue of warrant-proof encryption spans beyond the sphere of

sex trafficking and into the realm of national security. For example, the terrorists

in the 2015 Garland, Texas, attack—two Islamic extremists who ultimately

carried out an attack for which ISIS claimed responsibility—had been monitored

by the FBI for over three years. An undercover agent was on the scene actively

monitoring one of them at the time that the first shots were fired. But this was

not enough to prevent the attack. And, on the morning of the attack, the

terrorists exchanged 109 encrypted messages with an overseas terrorist

organization. The FBI could not access the messages and use their contents to

halt the attack. Indeed, even years after the terrorist attack, the FBI was not able

to access the content of the messages. See Attorney General William P. Barr

Delivers Keynote Address at the International Conference on Cyber Security, US

Department     of   Justice   Office    of   Public   Affairs   (July   23,   2019),

https://www.justice.gov/opa/speech/attorney-general-william-p-barr-delivers-

keynote-address-international-conference-cyber.

      47.    The use of encrypted messaging apps by foreign and domestic

terrorist groups has not ceased in the years since the Garland, Texas, terrorist

attack. In 2021, E2E was used by the Oath Keepers while planning the January

6th riot on the United States Capitol building. See, e.g., Indictment, United States

v. Rhodes et al. (D.D.C. January 8, 2021) (“Beginning in November 2020, Rhodes




                                       20
      Case 4:19-cv-07123-PJH    Document 574-1       Filed 03/06/25   Page 22 of 45




began disseminating messages on encrypted applications that encouraged his

co-conspirators to oppose by force the lawful transfer of presidential power.”).

        48.   Even more recently, Matthew Crooks planned his attempted

assassination of former President Trump using E2E. Although some of these

messages have been successfully decrypted, law enforcement still cannot access

the entirety of Crooks’ messages, and his motivations remain unknown. See

Testimony of the Honorable Christopher Wray, FBI Director, before the House

Judiciary Committee (July 24, 2024), https://judiciary.house.gov/committee-

activity/hearings/oversight-federal-bureau-investigation-7 (noting that the FBI

is still exploring “a number of digital devices” that belonged to Crooks, and that

“it turned out [Crooks] was using some encrypted messaging applications” which

the FBI “may never get access to because of the encryption issue that presents

an increasingly vexing barrier for law enforcement”).

        49.   This is only a select set of events, but the list of criminals and

terrorists known to be using E2E is extensive. In my experience, criminals and

terrorists specifically employ E2E because they are aware that law enforcement

has a limited ability to monitor their misconduct. This permits not only the open

planning of violent acts, but also allows for the transmission of other criminal

activity such as child exploitation, drug trafficking, and cybercrime. And, even if

the     criminals   employing    E2E        are   ultimately   identified,   encrypted

communications are sometimes lost to the government forever and cannot be

used as evidence in any resulting prosecutions.

        C. Lawful Surveillance Is Used by Foreign Governments



                                       21
   Case 4:19-cv-07123-PJH       Document 574-1   Filed 03/06/25   Page 23 of 45




      50.   Based on my experience working in the US Department of Justice

and independent research, I am aware that other nations have legal frameworks

that permit law enforcement to intercept communications lawfully. Although I

am not an expert in the laws of any particular foreign nation, I am aware that

many foreign jurisdictions impose requirements to receive authorization for

lawful interceptions that are similar to those in the United States.

      51.   Based on my research, at least the United Kingdom, Australia, New

Zealand, the United States, Canada, France, Mexico, Jamaica, and the

Netherlands generally allow for the lawful interception of communications with

prior judicial authorization.

      52.   In addition, a publicly available database compiled by Vodafone

Group with support from Hogan Lovells provides information for at least fifty-

seven counties. See Vodafone, Law Enforcement Disclosure Report, (June 2014),

https://www.vodafone.com/content/dam/vodcom/sustainability/pdfs/vodafo

ne_law_enforcement_disclosure_report.pdf. A sampling of those records, which

were last updated between 2017 and 2022, indicates that the vast majority of

those countries permitted law enforcement agencies or national security

agencies to conduct lawful intercepts as of the date that the online database or

relevant entries were last updated.

      53.   In my experience, the lawful interception of communications by a

foreign nation-state, such as a US ally, can and has facilitated the protection of

the United States. For example, in Operation Money Clip, receipt of intercepted




                                      22
   Case 4:19-cv-07123-PJH      Document 574-1         Filed 03/06/25    Page 24 of 45




messages from Mexican law enforcement was instrumental in securing arrests

and convictions for several of the investigation’s targets.

      54.   Based on public reporting, Pegasus has been used by several

Western-style democracies including Germany, Spain, Belgium, Poland, and

Hungary. See, How Democracies Spy on Their Citizens, The New Yorker (April 18,

2022), https://www.newyorker.com/magazine/2022/04/25/how-democracies-

spy-on-their-citizens. It has also been publicly reported that the United States

has purchased Pegasus, or financed the purchase of Pegasus, to assist American

allies in combating crime and terrorism. This includes Djibouti and Colombia.

See Michael Levenson, F.B.I. Secretly Bought Israeli Spyware and Explored

Hacking     U.S.    Phones,      New        York      Times     (Jan.      28,    2022),

https://www.nytimes.com/2022/01/28/world/middleeast/israel-pegasus-

spyware.html; Washington Financed Colombia's Purchase Of Pegasus Spy

Software,             Barron’s                (Nov.               8,              2024),

https://www.barrons.com/news/washington-financed-colombia-s-purchase-

of-pegasus-spy-software-76d6550f.

      D. Interception Technologies Provide the Potential for Significant
         Benefits to Law Enforcement and the Public

      55.   Based on my experience, lawful real-time access to devices and the

data, communications, and information therein is imperative to public safety

and national security. Criminal and terrorist actors continue to evolve in their

communications to avoid detection, and law enforcement and the intelligence

community must outpace this evolution technically.




                                       23
   Case 4:19-cv-07123-PJH        Document 574-1   Filed 03/06/25      Page 25 of 45




      56.        I am not alone in this belief. Numerous United States Attorneys

General—appointed by Democrat and Republican presidents—agree on this

issue. See, e.g., Statement from Attorney General William P. Barr on Introduction

of Lawful Access Bill in Senate, US Department of Justice Office of Public Affairs,

(June 23, 2020), https://www.justice.gov/opa/pr/statement-attorney-general-

william-p-barr-introduction-lawful-access-bill-

senate#:~:text=While%20strong%20encryption%20provides%20enormous,their

%20crimes%20and%20avoid%20detection (“While strong encryption provides

enormous benefits to society and is undoubtedly necessary for the security and

privacy of Americans, E2E encryption technology is being abused by child

predators, terrorists, drug traffickers, and even hackers to perpetrate their

crimes and avoid detection. Warrant-proof encryption allows these criminals to

operate with impunity. This is dangerous and unacceptable.”); Christina Carrega

et al., Merrick Garland Cites Domestic Terrorism and Civil Rights in Defending

Budget      to      House    Lawmakers,     CNN      Politics   (May      4,    2021),

https://www.cnn.com/2021/05/04/politics/merrick-garland-

hearing/index.html (quoting Attorney General Merrick Garland as stating that

“[t]he consequence of the internet and encryption means that [criminals and

terrorists] can send information and make plans much more swiftly and in

greater secrecy than could have been done before. . . . So, we have an emerging

and accelerating threat.”). President Obama has made similar statements. See

The White House Office of Press Secretary, Remarks by the President at South By

Southwest                Interactive         (Mar.              11,             2016),



                                       24
   Case 4:19-cv-07123-PJH      Document 574-1     Filed 03/06/25    Page 26 of 45




https://obamawhitehouse.archives.gov/the-press-

office/2016/03/14/remarks-president-south-southwest-interactive                   (“You

cannot take an absolutist view on this. So if your argument is strong encryption,

no matter what, and we can and should, in fact, create black boxes, then that I

think does not strike the kind of balance that we have lived with for 200, 300

years. And it’s fetishizing our phones above every other value. And that can’t

be the right answer. I suspect that the answer is going to come down to how do

we create a system where the encryption is as strong as possible, the key is as

secure as possible, it is accessible by the smallest number of people possible for

a subset of issues that we agree are important.”).

      57.   Existing lawful intercept capabilities are typically limited to methods

that rely upon E911 data, cell tower pings, and Internet Protocol (“IP”) data. As

a result, law enforcement is often only able to incept traditional (and often

antiquated) de-encrypted methods of communications, such as telephone calls

and text messages, application messages, and emails. Currently, federal law

enforcement    does   not    have   technology    capable   of     intercepting    E2E

communications.

      58.   Individuals     engaging   in   organized   crime,   child   exploitation,

terrorism, and human trafficking continue to develop technologies to avoid

detection by law enforcement, including detection of their illegal activities by

lawful electronic surveillance. In my experience, using E2E encryption is one of

the most common technologies utilized to defeat lawful electronic surveillance.




                                       25
   Case 4:19-cv-07123-PJH     Document 574-1          Filed 03/06/25        Page 27 of 45




      59.   In   my   opinion,    the    lack   of    the   ability    to    intercept   E2E

communications     prevents      or   hampers        considerably      the     investigation,

prevention, and prosecution of organized crime organizations, child exploitation,

terrorism, and human trafficking.

      60.   I have reviewed materials summarizing the capabilities of NSO’s

Pegasus technology, and it appears designed to capture more traditional forms

of communications or information (e.g., written communications, the content of

audio calls, the content of conversations within range of an activated

microphone, call logs, location data, etc.), while also providing law enforcement

access to new data streams (e.g., text and social media messages, browsing

history, installed applications, Wi-Fi networks, etc.). Most importantly, NSO’s

Pegasus technology, or similar technologies, would allow law enforcement legal

access to E2E communications used in furtherance of criminal activity.

      61.   Pegasus technology, or similar technologies, could provide law

enforcement agencies with real-time intelligence of crimes as they are planned.

This technology is the natural evolution of current lawful intercept tools and has

the potential to provide law enforcement with meaningful data to stop bad actors

before they cause greater harm to the public. Additionally, it would allow law

enforcement to successfully investigate and prosecute individuals involved in

organized drug trafficking organizations, child exploitation, terrorism, and

human trafficking. Put simply, it would be an affront to national security and

the public for law enforcement and the intelligence community to be unable to

counter the technologies deployed by criminals and terrorists.



                                        26
      Case 4:19-cv-07123-PJH   Document 574-1     Filed 03/06/25    Page 28 of 45




        62.   Based on public reporting, Pegasus itself has been beneficially

deployed in several high-profile investigations. Among other examples, this

includes the capture of an infamous Mexican cartel leader and the thwarting of

terrorist plots, organized crime, and a global child-abuse ring; as well as tracking

hostages held in Gaza. Ronan Bergman & Mark Mazzetti, The Battle for the

World’s Most Powerful Cyberweapon, The New York Times (last updated June

15,     2023),    https://www.nytimes.com/2022/01/28/magazine/nso-group-

israel-spyware.html; Gwen Ackerman & Marissa Newman, Israel Is Using

Pegasus Spyware Maker to Track Hostages in Gaza, Bloomberg (Oct. 26, 2023),

https://www.bloomberg.com/news/articles/2023-10-26/israel-taps-

blacklisted-pegasus-maker-nso-to-track-gaza-hostages-and-hamas.



Executed December 18, 2024.

                                                 ________________________________

                                                                   Joshua J. Minkler




                                     27
   Case 4:19-cv-07123-PJH        Document 574-1       Filed 03/06/25       Page 29 of 45




                                     Joshua James Minkler
                                Parter, Barnes & Thornburg LLP
                                        11 South Meridian
                                  Indianapolis, Indiana 46204


Education:

      Indiana University School of Law
      Bloomington, Indiana 47405
      08/1985 - 05/1988
      Juris Doctorate 05/1988

      Wabash College
      Crawfordsville, Indiana 47953
      08/1981 - 05/1985
      Bachelor of Arts 05/1985


      Legal Employment

      Employer’s Name:            Barnes & Thornburg LLP
                                  11 S. Meridian
                                  Indianapolis, Indiana 46204

      Dates Employed:             11/2020 – Present

      Job Title:                  Partner


      Employer’s Name:            Office of the United States Attorney for the
                                  Southern District of Indiana
                                  10 West Market, Suite 2100
                                  Indianapolis, Indiana 46204

      Dates Employed:             11/1994 – 11/2020

      Job Title:                  08/2014 – 11/2020
                                  United States Attorney

      Job Title                   04/2011 – 07/2014
                                  First Assistant United States Attorney

      Job Title:                  05/2010 - 03/2011
                                  Chief, Drug and Violent Crimes Unit/Lead
   Case 4:19-cv-07123-PJH        Document 574-1        Filed 03/06/25     Page 30 of 45




                                   OCDETF Assistant United States Attorney

      Job Title:                   11/1994 - 05/2010
                                   Assistant United States Attorney

      Employer’s Name:             Office of the Kent County Prosecuting Attorney
                                   416 Hall of Justice
                                   333 Monroe Avenue, N.W.
                                   Grand Rapids, Michigan 49503

      Dates Employed:              12/1989 - 11/01/1994

      Job Title:                   Assistant Prosecuting Attorney

      Employer’s Name:             Legal Services of Eastern Michigan
                                   (Legal Services Corporation)
                                   140 East Main Street
                                   Midland, Michigan 48640

      Dates Employed:              07/1988 - 12/1989

      Job Title:                   Staff Attorney

      Employer’s Name:             Cotner, Andrews, Mann & Chapman
                                   (No longer in business)
                                   528 North Walnut Street
                                   Bloomington, Indiana 47402

      Dates Employed:              09/01/1986 - 04/30/1988

      Job Title:                   Law Clerk


Honors and Awards:

      December 2015: Indianapolis Metropolitan Police Department: Honorary Chief of
      Police Award for distinguished service and exceptional performance on behalf of the
      community of Indianapolis and the Indianapolis Metropolitan Police Department.
      Presented by the Chief of Police, Indianapolis Metropolitan Police Department.

      July 2012: Office of the Secretary of the Department of Defense: Patriotic Employer
      Award for contributing to national security and protecting liberty and freedom by
      supporting employee participation in America’s National Guard and Reserve Force.
      Presented by the National Chair, Employees Support of Guard and Reserve, Executive
      Director, Employer Support of Guard and Reserve.



                                               2
Case 4:19-cv-07123-PJH        Document 574-1         Filed 03/06/25     Page 31 of 45




  January 2012: Drug Enforcement Administration: Certificate of Appreciation and
  Recognition for outstanding contribution in the field of drug law enforcement. Presented
  by the Special Agent in Charge, Drug Enforcement Administration, Chicago Field
  Division.

  December 2009: Federal Bureau of Investigation: Commendation for outstanding work
  on behalf of the people of the United States. Presented by the Special Agent in Charge,
  Federal Bureau of Investigation, Indianapolis Division.

  November 2008: Federal Bureau of Investigation: Commendation for outstanding work
  on behalf of the people of the United States. Presented by the Special Agent in Charge,
  Federal Bureau of Investigation, Indianapolis Division.

  August 2007: Investigation: Award for outstanding prosecution skills and assistance
  provided to the Federal Bureau of Investigation. Presented by the Director of the Federal
  Bureau of Investigation.

  July 2007: Department of Justice: Outstanding OCDETF Case, Great Lakes Region and
  recognition for outstanding contribution to cooperative law enforcement and the
  OCDETF program. Presented by the Assistant Attorney General, Criminal Division,
  United States Department of Justice.

  February 2006: United States Drug Enforcement Administration: Certificate of
  Appreciation and Recognition for outstanding contributions in the field of drug law
  enforcement. Presented by the Special Agent in Charge, Drug Enforcement
  Administration, Chicago Field Division.

  May 2004: United States Postal Inspection Service: Certificate of Appreciation in
  recognition of outstanding service and assistance to the United States Postal Inspection
  Service. Presented by the United States Postal Inspector in Charge, Detroit Division

  July 2003: Department of Health and Human Services, Office of Inspector General:
  Integrity Award in recognition of the investigation and conviction of multiple subjects
  involved in the fraudulent prescribing, billing, and distribution of OxyContin. Presented
  by the Inspector General, Department of Health and Human Services.

  August 2000: Federal Bureau of Investigation: Commendation and Recognition of
  contributions as lead prosecutor of the Brightwood investigation and prosecution.
  Presented by Special Agent Franklin S. Fabian, Federal Bureau of Investigation,
  Indianapolis Division.

  August 1999: United States Department of Justice: Special Achievement Award in
  recognition of meritorious acts performed in behalf of the Department. Presented by the
  Attorney General of the United States of America.




                                           3
    Case 4:19-cv-07123-PJH         Document 574-1       Filed 03/06/25     Page 32 of 45




       July 1999: United States Customs Service, Office of Investigations: Commendation and
       Recognition in appreciation of vigorous and successful prosecution of a major
       international narcotics smuggling organization. Presented by the Regional Agent in
       Charge, United States Customs Service.


       October 1998: City of Indianapolis, Indiana: Indianapolis Police Department Certificate
       of Commendation in recognition of distinguished service to the City of Indianapolis and
       to the Indianapolis Police Department. Presented by the Mayor, City of Indianapolis, the
       Director of Public Safety, and the Chief of Police.

       July 10, 1998: Department of Treasury, Bureau of Alcohol, Tobacco and Firearms:
       Certificate of Appreciation and Recognition for investigation and prosecution.
       Presented by the Special Agent in Charge, Bureau of Alcohol, Tobacco and Firearms.


Department of Justice Assignments and Committees

       Domestic Terrorism Executive Committee
       Co-Chair: 11/2017 – 11/2020

       Domestic Terrorism Working Group
       Chair: 11/2017 – 11/2020

       Attorney General Advisory Committee
       Member: 11/2017 – 10/2019

       Child Exploitation and Obscenity Working Group
       Member: 08/2014 – 01/2017
       Co-Chair: 04/2016 – 01/2017

       Terrorism and National Security Sub Committee
       Member: 05/2015 – 01/2017

       Violent and Organized Crime Sub Committee
       Member: 08/2014 – 01/2017


Public Offices

       United States Attorney; Southern District of Indiana
       Appointed by President Donald J. Trump and Unanimously Confirmed by the United
       States Senate
       10/02/2017 – 11/20/2020



                                               4
    Case 4:19-cv-07123-PJH          Document 574-1         Filed 03/06/25      Page 33 of 45




       United States Attorney (Interim) Southern District of Indiana
       Appointed by the District Judges of the United States District Court for the Southern
       District of Indiana by Hon. Richard L. Young, Chief Judge, United States District Court,
       Southern District of Indiana
       06/25/2015 – 10/02/2017


       United States Attorney (Interim); Southern District of Indiana
       Appointed by Attorney General Eric H. Holder, Jr.
       02/26/2015 – 06/25/2015

       Hussey-Mayfield Public Library (Zionsville, Indiana, Public Library)
       Board of Trustees
       Appointed by Zionsville, Indiana, Community School Board March 2009
       Reappointed January 2013
       Offices Held: Vice President 01/2013 – 07/2014; Secretary 03/2009 – 12/2012
       03/2009 – 08/01/2014


Description of Legal Career:

11/1994 – 11/2020
Office of the United States Attorney for the
Southern District of Indiana
10 West Market, Suite 2100
Indianapolis, Indiana 46204

       08/2014 – 11/2020
       United States Attorney
             From August 2014 to November 2020 as the United States Attorney, I served as
             the Chief Federal Law Enforcement Officer for the Southern District of Indiana and
             undertook the following responsibilities:             Setting, communicating and
             implementing federal law enforcement priorities within the district to reflect
             Department of Justice policy and priorities including the prosecution of federal
             crimes; maintaining the national security of the district; protecting federal funds
             and defending the interests of the United States; developing and maintaining a
             budget that maximizes the use of all available resources; managing the personnel
             who compose the Office of the United States Attorney; promoting effective external
             communications by disseminating information to the media and the public; and,
             supervising the First Assistant United States Attorney. I was not assigned any
             active criminal or civil cases, but I appeared in federal district and magistrate courts
             in the Southern District of Indiana on an occasional basis. I also appeared before
             the Seventh Circuit Court of Appeals




                                                 5
    Case 4:19-cv-07123-PJH          Document 574-1        Filed 03/06/25      Page 34 of 45




       04/2011 – 07/2014
       First Assistant United States Attorney
              From April 2011 to July 2014 as the First Assistant United States Attorney, I was
              responsible for day-to-day operations of the Office of the United States Attorney
              including supervising the Criminal Chief, Civil Chief, Drug and Violent Crimes
              Unit Chief, National Security Unit Chief, two Senior Litigation Counsel, the
              Administrative Officer, the Public Information/Law Enforcement Coordinator,
              serving as Acting United States Attorney when the United States Attorney was
              recused, and all other duties as assigned by the United States Attorney. I was the
              only direct report to the United States Attorney. I continued to investigate and
              prosecute OCDETF cases. I appeared in federal district and magistrate courts in
              the Southern District of Indiana on a weekly basis. I also appeared before the
              Seventh Circuit Court of Appeals

       05/2010 - 03/2011
       Chief, Drug and Violent Crimes Unit/Lead
       OCDETF Assistant United States Attorney
              From May 2010 to April 2011 as the Chief, Drug and Violent Crimes Unit/Lead
              OCDETF Assistant United States Attorney, I was Responsible for supervising the
              attorneys and a paralegal assigned to the Drug and Violent Crimes Unit of the
              Criminal Division and the oversight of all OCDETF investigations and
              prosecutions in the Southern District of Indiana on behalf of the United States of
              America. I continued to investigate and prosecute OCDETF cases. I appeared in
              federal district and magistrate courts in the Southern District of Indiana on a
              weekly basis. I also appeared before the Seventh Circuit Court of Appeals


       11/1994 - 05/2010
       Assistant United States Attorney, Criminal Division
              From November 1994 to May 2010 as Assistant United States Attorney in the
              Criminal Division, I was responsible for conducting OCDETF investigations and
              prosecutions (including motion and appellate practice) of organizations engaged
              in violations of federal law including drug trafficking, money laundering, public
              corruption, commercial armed robberies, and firearms offenses on behalf of the
              United States of America. I appeared in federal district and magistrate courts in
              the Southern District of Indiana on a weekly basis. I also appeared before the
              Seventh Circuit Court of Appeals

12/1989 - 11/01/1994
Office of the Kent County Prosecuting Attorney
82 Ionia, NW #450
Grand Rapids, Michigan 49503

       Assistant Prosecuting Attorney
              From December 1989 to November 1994 as an Assistant Prosecuting Attorney, I
              was responsible for the filing, preparation, motion practice, and trial of assigned

                                                6
    Case 4:19-cv-07123-PJH           Document 574-1         Filed 03/06/25      Page 35 of 45




              criminal cases including murder, attempted murder, rape, armed robbery, and
              felony assaults on behalf of the People of the State of Michigan. I appeared in the
              state courts in Kent County, Michigan on a daily basis.




07/1988 - 12/1989
Legal Services of Eastern Michigan
(Legal Services Corporation)
140 East Main Street
Midland, Michigan 48640

       Staff Attorney
              From July 1988 to December 1989 with Legal Services, I was responsible for the
              legal representation of legally indigent civil clients in assigned housing and public
              benefits matters. Practiced with three other lawyers including a lead staff attorney
              who was responsible for the assignment of cases. The litigation was in state and
              federal courts in Michigan in the areas of tenant defense, land contract forfeiture,
              foreclosure defense, consumer protection, and constitutional challenges to federal
              regulations and policy. Managed 30 – 50 housing related cases in Midland,
              Isabella, Clare, Gratiot and Bay Counties in Michigan. I appeared in the state
              courts in those counties in Michigan on a weekly basis.


Trial and Appeals Experience:

       I have tried over 30 felony cases to verdict in the state courts of Kent County, Michigan.
       I was sole counsel on all of those cases. I have tried 21 cases to verdict in federal district
       court. I was sole counsel on 8 of those cases, lead counsel on 11 of those cases, and co-
       counsel on 2 of those cases. I have prepared and filed over 25 appellate briefs in the
       United States Court of Appeals for the Seventh Circuit. On over 25 occasions I have
       presented oral argument before a three judge panel in the United States Court of Appeals
       for the Seventh Circuit. Many of those cases resulted in published opinions.


Ten Significant Litigated Matters

   1. United States v. Alberto Santana-Cabrera, et al.
      1:09-cr-00136-WTL-MJD
      United States District Court, Southern District of Indiana
      Honorable William T. Lawrence, Judge
      Date of Representation: 2009 to 2012



                                                 7
Case 4:19-cv-07123-PJH          Document 574-1        Filed 03/06/25      Page 36 of 45




   From the beginning of the investigation in 2009 through conclusion of the final appeal in
   2012, I represented the United States of America. I was sole counsel on the investigation,
   lead counsel on all motion practice, the jury trial, and the sentencing hearings. I was sole
   counsel on the appeal.

   During 2009, I led agents of the DEA and officers of the IMPD in an investigation into
   the illegal distribution of stolen firearms and methamphetamine in the Indianapolis area.
   The investigation revealed that Alberto Santana-Cabrera, an undocumented citizen of
   Mexico with a prior felony drug conviction, was selling guns and methamphetamine on
   the west side of Indianapolis. His supplier for the methamphetamine was Abel Flores-
   Lopez. After an intensive investigation involving electronic surveillance, a confidential
   informant, an undercover agent, and the execution of numerous search warrants, both
   defendants were indicted in December of 2009. The matter was tried in May 2010. A
   majority of the civilian witnesses and both defendants were fluent in Spanish, but spoke
   little English. After a one-week jury trial involving Spanish interpreters, a jury convicted
   both defendants of all charges. Santana-Cabrera was sentenced to 75 years in prison and
   Flores-Lopez was sentenced to 10 years in prison. The judgments were affirmed on
   appeal. United States v. Abel Flores-Lopez, 670 F.3d 803 (7th Cir. 2012).

2. United States v. Robert Long, et. al.
   1:08-cr-00088-LJM-KPF
   United States District Court for the Southern District of Indiana
   Hon. Larry J. McKinney, Judge
   Date of Representation: 03/2008 - 2015
   Co-Counsel: AUSA Joe H. Vaughn

   From the beginning of the investigation in March 2008 through post-conviction litigation
   including direct appeals and collateral attacks that were concluded in 2015, I have
   represented the United States of America. From March 2008 until June 16, 2008, I led a
   joint FBI, Indiana State Police, and Indianapolis Metropolitan Police Department (IMPD)
   investigation into public corruption and drug trafficking activities occurring within the
   Narcotics and Dangerous Drugs Section of the IMPD. The investigation consisted of
   court-authorized wiretaps, high-risk undercover operations, sophisticated audio and video
   surveillance and novel witness interview techniques. The investigation revealed that
   IMPD Narcotics and Dangerous Drugs Detectives Robert Long and James Edwards and
   IMPD Patrolman James Davis corruptly abused their positions as IMPD police officers to
   divert drugs and drug proceeds to their own use, at times using fictitious search warrants
   to gain access to private property and at other times breaking into residences and stealing
   the drugs and money therein. This case was tried in the summer of 2009. After a two-
   week trial, the jury returned convictions. Davis was sentenced to 10 years, Edwards to 17
   years, and Long to 25 years in prison. The trial received a 2010 United States Attorney
   Award. I was recognized by the Special Agent in Charge of the FBI with an award for
   this case.

   The judgments were affirmed on appeal. United States v. Robert Long, 639 F.3d 293 (7th
   Cir. 2011). Edwards’ motion for collateral relief pursuant to 28 U.S.C. § 2255 was

                                            8
Case 4:19-cv-07123-PJH          Document 574-1        Filed 03/06/25     Page 37 of 45




   denied and that judgment was affirmed on appeal. Jason P. Edwards v. United States,
   612 Fed.Appx. 390 (7th Cir. 2015).

3. United States v. Roy Lampkin et al., and United States v. Earl Allen, et al.
   1:07-cr-00105-SEB-KPF and 1:07-cr-00106-WTL-DKL
   United States District Court for the Southern District of Indiana
   Hon. Sarah Evans Barker, Judge
   Hon. John D. Tinder, Judge
   Hon. David F. Hamilton, Judge
   Hon. William T. Lawrence, Judge
   Date of Representation: 2006 to 12/2009

   From the beginning of the investigation in 2006 until the last defendant was sentenced on
   December 18, 2009, I represented the United States of America. I was sole counsel on
   both cases for all charging decisions, motion practice, and sentencings. All defendants
   pled guilty and were sentenced to prison. There was no appeal of the final judgements.

   In January 2006, United States Attorney Brooks assigned me to the Indianapolis Police
   Department (IPD) West District with instructions to work with the Deputy Chief and
   develop a high impact OCDETF case that would reduce violent crime in one of the most
   challenged neighborhoods of that district. I led a team composed of FBI Safe Streets
   agents, ATF Project Achillies agents, and IPD officers in conducting a total of 11 court
   authorized wiretaps over a period of eight months under OCDETF “Operation Westside
   Story.” This investigation focused on the Haughville Syndicate, a violent cocaine
   trafficking organization led by Earl Allen and Roy Lampkin operating exclusively in the
   Haughville neighborhood of Indianapolis. As a result of this investigation a total of 21
   defendants were indicted, convicted, and sentenced to federal prison.

   Most significantly, on August 14, 2007, more than 300 law enforcement officers
   executed 36 federal search warrants and two state search warrants at 38 different
   locations in Indianapolis. Approximately $67,000 in cash was seized along with 70
   illegally possessed firearms, including a machine gun, an Uzi, assault rifles, a 9-
   millimeter rifle, and several thousand rounds of ammunition. Within the first year of the
   takedown, violent crime in the IPD West District dropped 67%.

   About this case, Indianapolis Police Department Chief Spears said, “Last year we had a
   very difficult year with violence. This year, our murders are down almost 31 percent and
   those kinds of decreases don’t just happen. I believe they happen because of
   investigations like this.” The investigative team received a 2009 United States Attorney
   Award. I was recognized by the Special Agent in Charge of the FBI with an award for
   this case.

4. United States v. John Scruggs, et.al.
   IP 06-cr-0008-LJM-DKL
   United States District Court for the Southern District of Indiana
   Hon. Larry J. McKinney, Judge

                                            9
     Case 4:19-cv-07123-PJH              Document 574-1            Filed 03/06/25        Page 38 of 45




        Date of Representation: 11/2005 – 10/2007

        From the beginning of the investigation in November 2005 until the final disposition in
        district court during October 2007, I was the sole counsel representing the United States
        of America. I was responsible for the investigation, charging, motion practice, and final
        disposition of the case. All defendants pled guilty and were sentenced. There was no
        appeal.

        From November 2005 until January 2006, I led DEA agents and Indiana State Police
        investigators in an investigation that involved four court authorized wire intercepts with
        two extensions under OCDETF “Operation Motley Crew” focusing on RPOT target John
        Scruggs who was the Akingpin@ of a cocaine trafficking organization operating in
        Madison, Indiana. As a result of this investigation, a total of 17 defendants were
        indicted. Sixteen were arrested and convicted. During the investigation, kilograms of
        cocaine, pounds of marijuana, guns and United States currency were seized. More
        importantly, the elimination of a large drug trafficking organization in a relatively small
        Indiana tourist town (population 13,000) had a tremendous impact on reducing the
        availability of illegal drugs, reducing the crime rate and improving the quality of life for
        all of the law-abiding residents of that town. My team received a United States Attorney
        Award in 2008. I was recognized with an award from the Special Agent in Charge of the
        DEA for my work on this case.

    5. United States v. Juan Carlos Bermudez, et. al.
       IP 05-cr-00043-SEB-DML
       United States District Court for the Southern District of Indiana
       Hon. Sarah Evans Barker, Judge
       Co-Counsel: Nathan Judish, Department of Justice, Computer Crimes and Intellectual
       Property Section,
       Date of Representation: 2004 – 12/2007

        From the beginning of the investigation during 2004 until the conclusion of the appeal on
        December 5, 2007, I represented the United States of America. I was sole counsel on the
        investigation, motion practice, and all sentencing hearings at the district court. I was co-
        counsel with Mr. Judish on the appeal.

        From December 2004 until March 2005, I led a team of DEA agents and Indiana State
        Police investigators in an investigation that involved four court authorized wire intercepts
        with three extensions under the Department of Justice’s Special Operations Division’s
        (“SOD”) “Operation Money Clip.” Operation Money Clip was a SOD supported, multi-
        jurisdictional, multi-agency OCDETF investigation targeting the Henry and Tony
        Franco-Arrellano poly-drug trafficking organization. Operation Money Clip was initiated
        by SOD after intelligence identified a defined Mexican criminal organization being
        supplied by RPOT1 Ignacio Coronel-Villareal. As a result of this investigation, a total of
        16 defendants were indicted, arrested, convicted and sentenced in the Southern District of

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 RPOT – Regional Priority Target is an OCDETF term to identify high-level targets as determined by the
Department of Justice.

                                                      10
Case 4:19-cv-07123-PJH          Document 574-1         Filed 03/06/25     Page 39 of 45




   Indiana. In addition, 48 kilograms of cocaine, 875 pounds of marijuana, seven guns, and
   assets valued at $1,450,000.00 were seized and forfeited. More importantly, three
   Mexican based sources of supply were indicted and convicted in this investigation to
   include OCDETF/ Priority Target Juan Carlos Bermudez. On June 14, 2005, Bermudez
   was arrested on the outstanding arrest warrant issued in the Southern District of Indiana
   during a trip he made from the Republic of Mexico to Chicago, Illinois. Bermudez was
   the first multi-jurisdictional OCDETF RPOT target to be indicted and convicted in the
   Southern District of Indiana.
   My team received a 2006 United States Attorney Award. Additionally, the case was
   recognized as the Great Lakes OCDETF case of the year at a Department of Justice
   Ceremony in Washington, D.C. on July 31, 2007. I received an award from the Assistant
   Attorney General for the Criminal Division. All defendants arrested pled guilty and were
   sentenced to prison. The denials of motions to suppress were appealed. The judgments
   were affirmed on appeal. United States v. Evarardo Lira-Esquivel, 509 F.3d 820 (7th
   Cir. 2007).

6. United States v. Larry Williams, et al.
   IP03-CR-0191-M/B
   United States District Court for the Southern District of Indiana
   Hon. Sarah Evans Barker, Judge
   Hon. Larry J. McKinney, Judge
   Date of Representation: 2003 to 2007
   Co-Counsel: John E. Dowd

   From the start of the investigation in 2003 through the appeal, remand, and final
   disposition of the matter in 2007, I represented the United States of America. My co-
   counsel at trial was AUSA John Dowd.

   During the summer of 2003, reacting to heroin overdoses in Bloomington, Indiana, I led
   an aggressive DEA and Bloomington Police Department investigation that revealed an
   Indiana University graduate student, Tom Verhovshek, as the source of supply for 1-2
   gram quantities of high purity heroin in the Bloomington area. Using Verhovshek’s
   cooperation, the investigation moved up the chain to the sources of supply for the heroin
   involved in the Bloomington overdoses. Using court authorized wire surveillance, it was
   determined that Larry D. Williams, Sr., was the leader of a heroin organization in
   Indianapolis, the members of which distributed in excess of three kilograms of heroin that
   was approximately 80% pure (heroin is typically diluted and ingested at 2-3% purity)
   over a period of six months. The investigation continued and Chicago residents Wendell
   Denson and Herman Cunningham were identified as the sources of supply for the heroin
   that was shipped to Indianapolis and redistributed in Bloomington.

   The seven-month investigation culminated on December 16, 2003, when 150 state, local
   and federal law enforcement officers executed 17 federal arrest warrants and 15 federal
   search warrants in the Southern District of Indiana, the Northern District of Illinois, and
   the Southern District of Ohio. Large quantities of heroin, currency and firearms were
   seized.

                                            11
Case 4:19-cv-07123-PJH          Document 574-1         Filed 03/06/25      Page 40 of 45




   All 17 defendants were indicted, convicted, and sentenced to prison. The three lead
   defendants were convicted after a three-week jury trial. The trial team was recognized
   with a United States Attorney Award in 2005. On appeal, the judgments against three of
   the defendants were reversed and the cases were remanded for a new trial. United States
   v. Herman Cunningham, et al., 462 F.3d 708 (7th Cir. 2006). After the remand, all three
   defendants pled guilty before the Honorable Larry J. McKinney and were sentenced to
   prison. There was no appeal from those judgments.

7. United States v. Dr. Randolph Lievertz, et.al.
   IP02-CR-0005-B/F
   United States District Court for the Southern District of Indiana
   Hon. Sarah Evans Barker, Judge
   Date of Representation: 2001 – 2/2003
   Co-Counsel: Winfield Ong

   From the start of the investigation in 2001 through the final disposition of the matter at
   sentencing on February 28, 2003, I represented the United States of America.

   During 2001, I led a joint FBI, DEA, United States Department of Health and Human
   Services (HHS), Indiana Attorney General, and Jennings County, Indiana, Sheriff’s
   Department investigation into the fraudulent prescribing, distribution, and billing of
   OxyContin by an Indianapolis physician, Dr. Randolph Lievertz, and a Jennings County,
   Indiana, drug dealer, Melinda Hawkins. Lievertz prescribed more OxyContin to
   Medicaid recipients in the State of Indiana than any other physician, and Hawkins was
   the Indiana Medicaid recipient who received the largest amounts of OxyContin. From
   January 1, 2001 through September 26, 2001, Lievertz caused over $500,000 to be paid
   by Medicaid for OxyContin. From January 1, 2001 through December 17, 2001,
   Hawkins caused $130,204.91 to be paid by Medicaid for OxyContin prescriptions written
   by Lievertz to Hawkins outside the scope of professional practice and not for a legitimate
   medical purpose. After filling the prescriptions, Hawkins illegally distributed the
   OxyContin to several individuals including high school students in Jennings County,
   Indiana. This illegal scheme not only bilked taxpayers, it also caused an epidemic of
   OxyContin abuse in rural Jennings County.

   The five-month investigation employed a variety of law enforcement techniques,
   including physical surveillance, controlled purchases of OxyContin, a complete financial
   investigation, court authorized interception of oral communications occurring in
   Lievertz’s examination room (first time this technique had been utilized in the district),
   and search warrants. United States Attorney Susan Brooks said, “this joint effort by
   federal and local law enforcement agencies to identify and address the problem of
   OxyContin trafficking in a particular area demonstrates the best of proactive law
   enforcement.”.

   In early 2002, both Lievertz and Hawkins were indicted, convicted and sentenced to
   prison. This case won a 2003 United States Attorney Award. Janet Rehnquist, Inspector

                                            12
Case 4:19-cv-07123-PJH          Document 574-1         Filed 03/06/25      Page 41 of 45




   General, HHS, recognized me with the HHS Public Integrity Award. After the case was
   resolved, United States Attorney Brooks and I did significant outreach on the dangers of
   prescription pill abuse, including a town hall style meeting at Jennings County High
   School. I was the lead counsel on the investigation and co-counsel on the indictment,
   motion practice, and sentencing hearing. There was no trial and no appeal.



8. United States v. Lee Williams, et. al.
   IP99-CR-0059-M/L
   United States District Court for the Southern District of Indiana
   Hon. Larry J. McKinney, Judge
   Date of Representation: 1998 – 11/2002
   Co-Counsel: John Dowd and Brian Jennings

   From the start of the investigation in 1998 through the conclusion of the appeal on
   November 15, 2002, I represented the United States of America. During the trial, I had
   two co-counsel, AUSA John Dowd and cross-designated Marion County Deputy
   Prosecutor and Special AUSA Brian Jennings.

   Beginning in the Fall of 1998, I led a joint FBI and Indianapolis Police Department
   investigation into a violent organized group of drug distributors operating in the
   Brightwood neighborhood on the northeast side of Indianapolis. Using court authorized
   interception of phone calls and pager messages, law enforcement seized 78 weapons, 12
   kilograms of cocaine, and $200,000 in cash during the course of the investigation.
   Twenty-one defendants were charged. During the spring and summer of 2000, 10 of the
   defendants were tried in a seven-week trial. Over 100 witnesses and 1,200 exhibits were
   presented to the jury. One defendant pled guilty mid-trial, and the jury returned guilty
   verdicts against eight of the remaining nine defendants. All of the defendants charged
   were convicted by jury or by plea (the defendant who was acquitted at trial subsequently
   pleaded guilty to a firearm charge) with an average sentence of 170 months’
   incarceration. Eight defendants received sentences longer than 20 years in prison.
   Murders that were at a record high in the Brightwood neighborhood in 1998, declined in
   1999, 2000, and 2001. I received an award from the Special Agent in Charge of the FBI
   for the investigation and prosecution of this matter. I was sole counsel on the
   investigation, lead counsel at trial and at all sentencing hearings, and the sole counsel on
   appeal. While the appeal involved two separate appellate briefs, the cases were
   combined for the oral argument and opinion. The judgments of all 13 defendants who
   appealed were affirmed. United States v. Marvin Dumes, et al., 313 F.3d 372 (7th Cir.
   2002).

9. United States v. Morris Carr, et. al.
   IP97-CR-0063-M/F
   United States District Court for the Southern District of Indiana
   Hon. Larry J. McKinney, Judge
   Date of Representation: 1997 to November 1999

                                            13
Case 4:19-cv-07123-PJH         Document 574-1        Filed 03/06/25      Page 42 of 45




   Co-Counsel: Melanie C. Conour

   From the commencement of the investigation in 1997 through the final appellate
   judgment rendered on November 18, 1999, I represented the United States of America
   assisting lead counsel AUSA Melanie C. Conour.

   During 1997 and 1998, I co-led a joint DEA, ATF and Indianapolis Police Department
   investigation with lead counsel AUSA Melanie Conour into members of the Four Corner
   Vice Lords Gang from Chicago that had infested the City of Indianapolis with drugs and
   guns. Twenty-four defendants were charged as a result of the investigation (14
   defendants were charged in federal court and 10 defendants were charged in state court in
   Marion County, Indiana). After a majority of the defendants entered pleas of guilty, three
   of the leaders of the organization were tried in a five-week jury trial. The jury returned
   verdicts of guilty after hearing evidence that as much as 400 kilograms of cocaine were
   distributed by the organization that enforced its drug trafficking with violence. The
   leaders of the organization were sentenced to life in prison. AUSA Conour and I received
   awards from the Attorney General, the Mayor of Indianapolis, and the Special Agent in
   Charge of the ATF for the investigation and prosecution of this matter. Along with
   AUSA Conour, I was responsible for the motion practice, trial, sentencing hearings, and
   defending the judgment on appeal. I was the sole AUSA responsible for the oral
   argument before the Seventh Circuit Court of Appeals. All judgments were affirmed on
   appeal. United States of America v. Thornton, et al., 197 F.3d 241 (7th Cir. 1999).

10. People of the State of Michigan v. Tuan Truong and Tai Van Nguyen
    92-59379-FC
    17th Circuit Court for the State of Michigan
    Hon. Donald Johnston, Judge
    Date of Representation: 08/1992 – 1993

   As Assistant Prosecuting Attorney, I was sole counsel for the People of the State of
   Michigan in all preliminary hearings, motion practice, jury trial and disposition hearings
   in the above case. Two Vietnamese defendants shot and killed a member of a rival
   Vietnamese gang member in a Vietnamese restaurant in August 1992. A majority of the
   civilian witnesses and both defendants were fluent in Vietnamese, but spoke little
   English. There was extensive motion practice to determine the age of the defendants and
   the admissibility of statements made by one of the defendants. After a 12-day trial
   involving Vietnamese interpreters, a jury convicted both defendants of first-degree
   murder. Both defendants were sentenced to life without parole and the judgments were
   affirmed on appeal. I did not represent the People of the State of Michigan on the appeal.




                                           14
    Case 4:19-cv-07123-PJH   Document 574-1   Filed 03/06/25   Page 43 of 45



                                 APPENDIX B
                     LIST OF INFORMATION CONSIDERED

LAWS
•    18 U.S.C. 2510, et seq.
•    50 U.S.C. §1801, et seq.

POLICIES AND GUIDANCE
•    Justice Manual, Title 9-7.000, U.S. Department of Justice,
     https://www.justice.gov/jm/justice-manual
•    Lawful Access, US Department of Justice Office of Legal Policy (last
     updated November 18, 2022),
     https://www.justice.gov/olp/lawful-access
•    Executive Order, President Joe Biden, March 27, 2023.
     https://www.whitehouse.gov/briefing-room/statements-
     releases/2023/03/27/fact-sheet- president-biden-signs-executive-order-to-
     prohibit-u-s-government-use-of-commercial- spyware-that-poses-risks-to-
     national-security/

SCHOLARLY PUBLICATIONS AND TREATISES
•   Comparative Study on Wiretapping and Electronic Surveillance Laws in
    Major Foreign Countries, Members of Staff, Law Library, Library of
    Congress (1975)
•   1 World Online Business Law, Chapter 7: Technology Surveillance
•   Country Legal Framework Resources, Provision of Real-time Lawful
    Interception Assistance, https://clfr.globalnetworkinitiative.org

DOCUMENTS PRODUCED IN THIS LITIGATION
•   Complaint and Exhibits
•   FPM-00021846
•   NSO_WHATSAPP_00000078
•   NSO_WHATSAPP_00000262
•   NSO_WHATSAPP_00045591
•   Exhibit 2005
•   Exhibit 2028
•   Exhibit 2088

OTHER MATERIALS
•   https://faq.whatsapp.com/808280033839222
•   https://faq.whatsapp.com/820124435853543
•   https://judiciary.house.gov/committee-activity/hearings/oversight-
    federal-bureau-investigation-7
•   https://obamawhitehouse.archives.gov/the-press-
    office/2016/03/14/remarks-president-south-southwest-interactive
•   https://support.signal.org/hc/en-us/articles/360007320391-Is-it-
    private-Can-I-trust-
    it#:~:text=Signal%20conversations%20are%20always%20end,%2C%20ever
    y%20call%2C%20every%20time
•   https://therecord.media/encrypted-apps-a-challenge-trump-assassination-
    Case 4:19-cv-07123-PJH      Document 574-1      Filed 03/06/25   Page 44 of 45



     attempt-wray- fbin
•    https://tsf.telegram.org/manuals/e2ee-simple
•    https://www.barrons.com/news/washington-financed-colombia-s-
     purchase-of-pegasus-spy-software-76d6550f
•    https://www.bloomberg.com/news/articles/2023-10-26/israel-taps-
     blacklisted-pegasus- maker-nso-to-track-gaza-hostages-and-hamas
•    https://www.cnn.com/2021/05/04/politics/merrick-garland-
     hearing/index.html
•    https://www.justice.gov/nsd/media/1350236/dl?inline
•    https://www.justice.gov/opa/pr/statement-attorney-general-william-p-
     barr-introduction-lawful-access-bill-
     senate#:~:text=While%20strong%20encryption%20provides%20enormous,t
     heir%20crimes%20and%20avoid%20detection
•    https://www.justice.gov/opa/speech/attorney-general-william-p-barr-
     delivers-keynote-address-international-conference-cyber
•    https://www.newyorker.com/magazine/2022/04/25/how-democracies-
     spy-on-their-citizens
•    https://www.nsogroup.com/wp-content/uploads/2023/12/2023-
     Transparency-and-Responsibility-Report.pdf
•    https://www.nytimes.com/2022/01/28/magazine/nso-group-israel-spyware.html
•    https://www.nytimes.com/2022/01/28/world/middleeast/israel-
     pegasus-spyware.html
•    https://www.nytimes.com/2022/11/12/us/politics/fbi-pegasus-spyware-
     phones-nso.html
•    https://www.vodafone.com/content/dam/vodcom/sustainability/pdfs/vodafone_law_enforce
     ment_disclosure_report.pdf
•    Indictment, United States v. Rhodes et al. (D.D.C. January 8, 2021)
Case 4:19-cv-07123-PJH   Document 574-1   Filed 03/06/25   Page 45 of 45




               EXHIBIT B
             FILED UNDER SEAL
